Case 6:21-cr-00063-PGB-GJK Document 144 Filed 02/07/22 Page 1 of 2 PageID 461




                          United States District Court
                           Middle District of Florida
                               Orlando Division


   United States of America

         v                                Case No. 6:21-cr-63-PGB-GJK

   Mehef Bey

   _____________________________/


                          MOTION TO WITHDRAW

         The below signed attorney, Tom Dale, files this Motion to Withdraw

   from representing the defendant, Mehef Bey, in the above styled case. In

   support, the following is submitted:

   1.    On May 5, 2021 the Court appointed the undersigned to represent the

   Defendant. Doc 43.

   2.    On January 3, 2022 the Defendant entered into a written plea

   agreement Doc. 127. On the same date the Court held a change of plea

   hearing at which the Defendant entered a plea of guilty. Doc. 128

   3.    The Court accepted the Defendant’s plea on January 21, 2022 and

   scheduled a sentencing hearing for March 23, 2022. Doc. 138
Case 6:21-cr-00063-PGB-GJK Document 144 Filed 02/07/22 Page 2 of 2 PageID 462




   4.       Since the entry of the plea a conflict has arisen between the

   Defendant and the undersigned which necessitates the termination of

   representation.

   5.    The undersigned has conferred with opposing counsel who takes no

   position regarding the requested relief.

   6.    The Defendant did not sign a consent to the withdrawal.

         WHEREFORE, counsel moves the Court to set this matter for a

   hearing to determine whether counsel may withdraw from representing the

   Defendant.

                                Certificate of Service

         The foregoing was filed with the court utilizing the CM/ECF system

   on the date last showing.



                                                   s/Tom Dale
                                                   Tom Dale
                                                   Florida Bar # 52043
                                                   Post Office Box 14
                                                   Orlando, Florida 32802
                                                   407 245 7055 (tel & txt)
                                                   dalelaworlando@outlook.com


   Dated:        February 7, 2022
